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                          UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF PENNSYLVANIA




 IN RE:                                                            CASE NUMBER:

 5171 Campbells Land Co., Inc.,                                    19-22715-CMB

 DEBTOR                                                             CHAPTER 11




          APPOINTMENT OF COMMITTEE OF UNSECURED CREDITORS


 Pursuant to §1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to the
 Committee of Unsecured Creditors in connection with the above referenced case:


 1.       Perkins & Marie Callender’s, LLC
          6075 Poplar Avenue, Suite 800
          Memphis, TN 38119
          Attn: General Counsel
          Tel. (901) 766-6400
          Fax: (901) 766-6482
          Email: andy.whiteley@prkmc.com

 2.       Store Capital
          8377 E. Hartford Drive
          Scottsdale, AZ 85255
          Tel. (480) 256-1199
          Email: Lhale@storecapital.com

 3.       Vincent A. DiAntonio
          3D Acquisitions, LP
          1520 Gilmore Drive
          Jefferson Hills, PA 15025-2706
          Tel. (412) 443-6317
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 4.     L-Four, LP
        c/o Michael Oliverio, Esquire
        The Lynch Law Group, LLC
        501 Smith Drive, Suite 3
        Cranberry Twp., PA 16066
        (Tel.) (724 776-8000
        Email: moliverio@lynchlaw-group.com



 Date: August 1, 2019                  ANDREW R. VARA
                                       ACTING UNITED STATES TRUSTEE
                                       Region 3

                                    By: /s/Norma Hildenbrand
                                        Norma Hildenbrand, Trial Attorney
                                        Norma.L.Hildenbrand@usdoj.gov
